3/6/2019      Case: 1:17-cv-08291 Document Loevy & Loevy
                                           #: 111-5      Mail - Jaimes
                                                       Filed:          - deposition
                                                                 03/06/19     Page  list 1 of 3 PageID #:661



                                                                                      Danielle Hamilton <hamilton@loevy.com>



  Jaimes - deposition list
  Danielle Hamilton <hamilton@loevy.com>                                                             Fri, Feb 15, 2019 at 12:54 PM
  To: Elizabeth Ekl <eekl@reiterburns.com>
  Cc: Mike Kanovitz <mike@loevy.com>, Katie Roche <katie@loevy.com>

    Beth, What documents will be produced in 48 hrs? And when will the remaining documents be produced?

    We are also available March 11, 14-15 for the deponents listed for Mar 5-8. Please inquire with them and get back to me.
    Thanks.

    Feb. 15, 2019, at 10:44 a. m., Elizabeth Ekl <eekl@reiterburns.com> wrote:


           Danielle,

           For clarification, it is accurate that we are in the process of preparing additional documents for production,
           including certain requested IAPro documents and insurance information. I did not represent to you or the
           court that all of the items below (which we discussed after court), would be produced in that timeframe.



           I will confirm the witnesses’ and counsels’ availability on the dates proposed and get back to you. However,
           I know for sure March 5-8 are bad dates. My firm already has multiple depositions on each day that week,
           three of which are occurring out of state.



           Best,

           Beth




           From: Danielle Hamilton <hamilton@loevy.com>
           Sent: Friday, February 15, 2019 12:37 PM
           To: Elizabeth Ekl <eekl@reiterburns.com>
           Cc: Mike Kanovitz <mike@loevy.com>; Katie Roche <katie@loevy.com>
           Subject: Re: Jaimes - deposition list



           Beth, a couple things to follow up on:



           1. Outstanding discovery: as we discussed at the status, you're planning on producing to us within 48 hours
           of 2/14:

                   Erika Aguirre Cook County Sheriff's Police Department tests and results (RFP No. 11)
                   Cook County insurance policy effective Nov 2015 (RFP No. 9)
                   Documents in response to RFP No. 18 (of which you gave us a sample of 40 files)--next batch is
                   employee vs. employee OPR complaints
                   IAPro documents described in Katie's 12/14/2018 email

           2. Depositions: we propose the following dates and deponents to start--these are all half day deps:

                   3/1 Reopened 30b6 dep (topics 18-19)
                   3/1 Commander Scott Bratlien
                   3/5, 3/7, 3/8 Officer Dukes
https://mail.google.com/mail/u/0?ik=ba0808d8b4&view=pt&search=all&permmsgid=msg-f%3A1625562140766009961&dsqt=1&simpl=msg-f%3A1625…   1/4
3/6/2019      Case: 1:17-cv-08291 Document Loevy & Loevy
                                           #: 111-5      Mail - Jaimes
                                                       Filed:          - deposition
                                                                 03/06/19     Page  list 2 of 3 PageID #:662
                  3/5, 3/7, 3/8 Officer Anderson
                  3/5, 3/7, 3/8 Investigator Sheryl Collins
                  3/5, 3/7, 3/8 Sergeant Peter Giunta
                  3/12 - 3/13 Stephen Keating
                  3/12 - 3/13 Mary Chessin
                  3/12 - 3/13 Miriam Rentas
                  3/12 - 3/13 Robert Riley




           On Wed, Feb 13, 2019 at 9:23 PM Danielle Hamilton <hamilton@loevy.com> wrote:

              Ok, let’s hold 3/1 for 30b6 and go from there.


              Feb. 13, 2019, at 9:15 p. m., Elizabeth Ekl <eekl@reiterburns.com> wrote:

                     The only day I have available the week of the 25th is Friday. I have 6 deps already set for
                     that week. I can see if someone can cover a couple of them, but that will likely only free up
                     one other day. I am not going to be able to definitively set dates for March until I sit down
                     with other members of my firm and make sure I have coverage for deps that are already
                     set. I think there are 15 depositions set with your firm just in the Gray case. It might be
                     easier if you provide me with your availability and I will see if I can work around it.



                     I will get back to you regarding any remaining 30(b)(6) issues, specifically whether the
                     CCSO maintains responsive documents that will allow us to respond to your request.
                     Assuming they do, we can tentatively hold Friday, March 1 for that dep. It won’t be Burke.




                     From: Danielle Hamilton <hamilton@loevy.com>
                     Sent: Wednesday, February 13, 2019 4:57 PM
                     To: Elizabeth Ekl <eekl@reiterburns.com>
                     Cc: Mike Kanovitz <mike@loevy.com>; Katie Roche <katie@loevy.com>
                     Subject: Re: Jaimes - deposition list



                     Thanks. I believe the judge wants us to have dates. We should probably set at least some
                     of these tentatively. What about our first 5 the week of February 25?



                     Also we’ll add to our list the reopened deposition of Matthew Burke on 30b6 topics 18-19.
                     We’d like to do that first actually, can you propose a date the week of Feb 25?


                     Feb. 13, 2019, at 4:52 p. m., Elizabeth Ekl <eekl@reiterburns.com> wrote:

                            Danielle,

                            Thank you for the list of anticipated deponents and additional information. It
                            was very helpful.



                            Our initial list of witnesses will include:




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3/6/2019        Case: 1:17-cv-08291 Document Loevy & Loevy
                                             #: 111-5      Mail - Jaimes
                                                         Filed:          - deposition
                                                                   03/06/19     Page  list 3 of 3 PageID #:663



                                                                                      Danielle Hamilton <hamilton@loevy.com>



  Jaimes - deposition list
  Danielle Hamilton <hamilton@loevy.com>                                                            Wed, Feb 20, 2019 at 11:20 AM
  To: Elizabeth Ekl <eekl@reiterburns.com>
  Cc: Mike Kanovitz <mike@loevy.com>, Katie Roche <katie@loevy.com>

    Beth, following up from my email last week. We have not received any documents since the status. Please let us know by
    close of business today when the outstanding discovery will be produced.

    We'll wait to hear from you on the depositions and noticing them.
    [Quoted text hidden]




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